: — RECEIVED
IN THE UNITED STATES DISTRICT COURT INCLERK'S OFFICE

FOR Eee STR oN, JAN 2.5 2016
US. DISTRICT COURT
ANANT KUMAR T72EPHTZ, ) - DIST. TENN.
(Name) ) (List the names of all the plaintiffs filing
“ (O27 OF! , ) this lawsuit. Do not use “et al.” Attach
(Prison Id. No.) ) ' additional sheets if necessary.)
)
, )
(Name) )
; ) Civil Action No.
(Prison Id. No.) ) (To be assigned by the Clerk’s Office.
) Do not write in this space.)
Plaintiff(s) )
)
v. ) JURY TRIAL REQUESTED ves ___NO
)
C_OQW ZO We: ’ ) (List the names of all defendants
(Name) ) against whom you are filing this
Sexe KweOwen S Pah ZI. ) lawsuit. Do you use “et al.” Attach
(Name) ) additio®Al sheets if necessary.)
Defendant(s) )

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS FILED
PURSUANT TO 42 U.S.C. § 1983

I. PARTIES TO THIS LAWSUIT

A. -Plaintiff(s) bringing this lawsuit:

be

“4. Name of the first plaintiff: GN AAIT AUMAK. THE PATE
Prison |.D. No. of the first plaintiff: 70203)
Address of the first plaintiff: a5 PC TUCSEN, MANTANITA pwZT ¢ 74,
PO. BOK 72990), Tucson ARTZENA, BS 734 WHO/

Status of Plaintiff: CONVICTED SG PRETRIAL DETAINEE (__)

2. Name of the second plaintiff:
Prison I.D. No. of the second plaintiff:
Address of the second plaintiff:

Status of Plaintiff: CONVICTED (__) PRETRIAL DETAINEE (___)

Revised 11/2014

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(Include the name of the institution and mailing address with zip code for each plaintiff. If
any plaintiff changes his or her address, he or she must notify the Court immediately. If there
are more than two plaintiffs, list their names, prison identification numbers, and addresses on
a separate sheet of paper.)

B. Defendant(s) against whom this lawsuit is being brought:

1. Name ofthe first defendant: CeRrZen ZA CeERPC ATED
Place of employment of the first defendant: ADO& iter weet
SEFFEIESON, FHOEN TL PREZONA BS OCT
First defendant’s address: _¢e, Of FCe
PARK DEZUE *200 BFENTMLOD TA. ATOZ.

Named in official capacity? vf Yes No
Named in individual capacity? x Yes No

2. Name of the second defendant: De Calin \J OWASSO /\
Place of employment of the second defendant: Cort Zen bene

JOB <t. Pore Duiue 20°C Reonkwoud TTA. BS10R7

eo defendant’s address: Corizon _ Tire LB is Whi Pare Drice*ta6o

rentarod “Tn, 2I10a7

Named in official capacity? + Yes ___No
Named in individual capacity? eNes No

(if there are- more than two defendants against whom you are bringing this lawsuit, you must
list on a separate sheet of paper the name of each additional defendant, hig @« her place of
employment, address, and the capacity in which you are suing that defenda i. If you do not
provide the names of such additional defendants, they will not be included in your lawsuit. If
you do not provide each defendant’s proper name, place of employment, and address, the
Clerk will be unable to serve that defendant should process issue.)

Hi. JURISDICTION

A. Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (applies to state prisoners).

Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(a a)(3). | 2euge 1es/
Rule ts s

lf you wish to assert jurisdiction under different or additional statutes, you may list
them below: DIVELS=ETY CF CLTEZEA SALE ramA BRITLIH

CETLZEN, THE DEFENDANTS FROM ARIZONA AND
TENNESSEE. ZS V-S-C.\ot« THE AMOUNT IN

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CONTROVE REY LESS PENALTY ANDINTEREST EXcreDs Fos

PREVIOUS LAWSUITS (The following information must be provided by each plaintiff.)

A. Have you or any of the other plaintiffs in this lawsuit filed any other lawsuit(s) in the
United States District Court for the Middle District of Tennessee, or in any other
federal or state court? ~f Yes “FNo

B. If you checked the box marked “Yes” above, provide the following information:

1. Parties to the previous lawsuit:

Plaintiffs ANAAT BOMB TREPATO

Defendants. ce©eZSeA ZANCOK PERATED

2. In what court did you file the previous lawsuit?_UNI-TED sTATE S
DISTHICT cOvgeT
(If you filed the lawsuit in federal court, provide the name of the District. If you
filed the lawsuit in state court, provide the name of the state and the county.)

3. What was the case number of the previous lawsuit? crv (3- OLS

4. What was the Judge’s name to whom the case was assigned? _SWpe-eE
DAVED Bucy

5. What type of case was it (for example, habeas corpus or civil rights action)?
CIVIL LTENTS

6. When did you file the previous lawsuit? (Provide the year, if you do not know
the exact date.) 2O/3

7. What was the result of the previous lawsuit? For example, was the case
dismissed or appealed, or is it still pending? s7222e PENDING Foie,
Nereaur

8. When was the previous lawsuit decided by the court? (Provide the year, if you
do not know the exact date.)

9. Did the circumstances of the prior lawsuit involve the same facts or
circumstances that you are alleging in this lawsuit? ___Yes “Scr

(if you have filed more than one prior lawsuit, list the additional lawsuit(s) on a
separate sheet of paper, and provide the same information for the additional

lawsuit(s).) 2- APNE KF LLED MORE THAN THREE <ASES 5, MY RECORDS

HAVE BEEN LOST BY AICIZONA DEPT, OF CORRECTEON.

_ EXHAUSTION

A. Are the facts of your lawsuit related to your present confinement?

B.

Y Yes ___No

If you checked the box marked “No” in question I|].B above, provide the name and
address of the prison or jail to which the facts of this lawsuit pertain.

Do the facts of your lawsuit relate to your confinement in a Tennessee state prison?

___Yes fio

(If you checked the box marked “No,” proceed to question IV.G. If you checked the
box marked “Yes,” proceed to question IV.D.)

Have you presented these facts to the prison authorities through the state
grievance procedure? Ayes ___No

If you checked the box marked "Yes" in question II!.D above:

1. What steps did you take?_ KGRPEBYLEP Th Bwem Pood

2. What was the response of prison authorities?_ Reuet Gwe”

if you checked the box marked “No” in question IV.D above, explain why not.

Do the facts of your lawsuit pertain to your confinement in a detention facility
operated by city or county law enforcement agencies (for example, city or county
jail, workhouse, etc.)? Yes Alo

if “Yes” to the question above, have you presented these facts to the authorities
who operate the detention facility? _ Yes ___No

If you checked the box marked “Yes” in question III.H above:

1. What steps did you take?

_

ARIZONA DEPARTMENT OF CORRECTIONS For distribution: Copy of corresponding |
inmate Letter must be attached to this
Inmate Letter Response response.
a
( ‘
Inmate Name (Last, First M.1) ADC Number
Tripati, Anant 102081
Institution/Unit
ASPC/Tucson/Manzanita
C ; ~
From Location
COIV J. Mattos Programs Grievance Coordinator
This is in response to your inmate letter concerning issues with Medical and respoonses received. | have reviewed all
your grievances filed for the last 18 months and you have grieved issues on pain medication, change of medication,
medical appointments, medical tests and medical diet. These issues have been sent through our grievance process
and you no longer need to grieve these issues since they have been grieved previously.
; 4
Staff Signature So , _ Date
2 B-/S
4 ~ Cy eo
\. JZ
Distribution: Original - Master Record File
Copy - Inmate 916-2

§/14/12

2. -What was the response of the authorities who run the detention facility?

J. If you checked the box marked “No” in question IV.H above, explain why not.

V. CAUSE OF ACTION

Briefly explain which of your constitutional rights were violated:

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t Y \

Vi. STATEMENT OF FACTS

State the relevant facts of your case as briefly as possible. Include the dates when the incidents
or events occurred, where they occurred, and how each defendant was involved. Be sure to
include the names of other persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth each claim in a
separate paragraph. Attach additional sheets, if necessary. Use 8 % inch x 11 inch paper. Write
on one side only, and leave a 1-inch margin on all 4 sides.

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Vil. RELIEF REQUESTED: State exactly what you want the Court to order each defendant to
do for you.

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| request a jury trial. Yes ___No
VIH. = CERTIFICATION

| (we) certify under the toe pete that the foregoing complaint is true to the best of my

(our) information, knowledge ghd belief.
Date: uf ty AE
Prison Id. No. jo 70S) Live i
Address (Include the T state and zip code.): Theos L G2—
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T/

Signature:

o1— Oy

Signature: Date:
Prison Id. No.
Address (Include the city, state and zip code.):

ALL PLAINTIFFS MUST SIGN AND DATE THE COMPLAINT, and provide the information
requested above. If there are more than two plaintiffs, attach a separate sheet of paper with
their signatures, dates, prison identification numbers, and addresses.

ALL PLAINTIFFS MUST COMPLETE, SIGN, AND DATE SEPARATE APPLICATIONS TO PROCEED IN
DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS, if not paying the civil filing fee.

SUBMIT THE COMPLAINT AND (1) THE REQUIRED FILING FEE OR (2) COMPLETED APPLICATION
TO PROCEED _IN_ DISTRICT COURT WITHOUT PREPAYING FEES AND COSTS TOGETHER.
Complaints received without the required filing fee or application to proceed without
prepayment of fees will be returned. Filing fees and applications to proceed without
prepayment of fees submitted without a complaint will be returned.

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1601 WEST JEFFERSON
PHOENIX, ARIZONA 85007
(602) 542-5497
Www. azcorrections. gov

CHARLES L. RYA?

JANICE K. BREWER
GOVERNOR DIRECTOR
MEDICAL GRIEVANCE APPEAL: TO THE DIRECTOR
Inmate Name: TRIPATL ANANT ADC No.: 102081 Case Nos.: C14-119-014

Date Received: November 5, 2014

Institution: ASPC-TUCSON/MANZANITA

| have reviewed your Grievance Appeal in which you state that “ADOC has refused to give me
my diet" that was ordered by the Chief Medical Officer of Corizon.

Your grievance appeal has been investigated including a review of your medical records.
Based on our findings, your appeal is denied. The reasons for this decision are:

Our review shows that on 8/28/14, you met with Corizon’s Medical Director (Dr. S.
McQueen) concerning your diet issues. You were subsequently issued a No Gluten
Diet/Alleray Diet. We have confirmed that this diet order has been implemented. As to
your request for a Hindu DiciVegan Diet, this is a religious diet ana is unde: the
purview of the Chaplain; therefore, it will not be. addressed within this response. You
are advised to discuss your request for a religious diet with the Chaplain assigned at

your facility.

Please submit a Health Needs Request (HNR) if you have additional issues or
concerns which you wish to discuss with a medical provider.

1.

This response concludes the medical grievance process per Department Order 802.11 Medical

Grievance.

Charles L. Ryan, Difector Dale :

Facility Health Administrator, ASPC-Tucsan
C.O. Inmate File |

CC:

Page 1 of 1
ARIZONA DEPARTMENT

ARIZONA DEPARTMENT OF CORRECTIONS
INMATE GRIEVANCE APPEAL RESPONSE

OF CORRECTIONS

Log # Inmate Name Case # Complex Unit

458 [ Tripai] (itzoat | [.1sei4o2g =| [Tucson] Manzanita |

In your grievance filed at Manzanita Unit, you are requesting a policy change that allows you to receive a

medical and religious diet at mealtimes. |

Your grievance appeal has been reviewed at Central Office and the Warden's response is affirmed. You are
currently on a medically ordered diet for food allergies. The medical diet cannot coexist with a vegan diet, as
the vegan diet contains items to which you claim to be allergic. Therefore, as long as you remain on the

medical diet, you cannot receive a vegan diet.
t
Your request for a policy change is.denied.

No further action is warranted in this matter.
MN NV

CC: Warden, Tucson Complex

2l (3 (as.

Date’

Page 1 of 1

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Heaith Care Providers arid Senior Chaplains orderin restricted
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(with the cemaining portion of the order form forwarded to the |
ADC Number. |
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{Start Date Expiration Date
: 4 * & Mo
Pye ti ia AE )
~
[- | Controlled Protein Diet [| Pregnancy
Long-term FullLiquid Diet gt ealveie Di
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Verification os ye

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Form: The HAP or Senior Chaplain will retain their portion of
the form and ensure the form is placed in the inmate's records

["] Change rj Reissue with the remaining portion of the order form forwarded to the |

(inmate Name (Last, First M.L) . * [ADC Number _
Te ipati AN act Jozovy.

Institution/Facility/Unit Housing Assignment Start Date © Expiration Date

MAN SAIL q-d-Hy Nene)

—
MEDICAL DIETS

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XV

Dental/Mechanical Soft Diet - oo, .
[| (Easy to chew/swallow) [] Controlled Protein Diet ry Pregnancy
vad Ti Long-term Full Liquid Diet wo cte ps
L] Clear Liquid Diet LI (Automatically expires in 8 weeks - supplement required) L] Renal/Dialysis Diet
Full Liquid Diet . oo
CL] (Automatically expires in 5 days) LJ Wasting Syndrome Le ittergy Diet
|_] Liquid Supplements [| Chemotherapy Diet No DATA 4 NY UW eA, {v as
. . . !
Lal-hoGiuten Diet NUTS Chesnut) nd SOY ve Brapy
[| Prescribed snack consisting of: 6 saltine crackers or 3 graham crackers O 0 inf
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[7] Other: PaticatT Dacs Ne { (8 Ques (OAS { [#sTing I bya’ Adevase ba tn
, f meen Pee fet].
ti (Restricted medical diets not defined in the ADC Diet Reference Manual may be ordered only with he approval of the Medical Director of Healthy’ J
Services or designee with the following approving authority Signature. /

Approving Authority Signature:

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{ RELIGIOUS DIETS , )
See enn . . | +- on |
bo Lacto Vegetarian Diet . lec AAAI QO 1.0
fi. [N SU J (Allows milk and milk products) LI Kosher Diet Plan J

‘.

fr - +
NOTICE TO INMATE - Medical Diets take peepee over Religious Diets. If a medical condition exists that is contraindicated by the Religious aa
the Medical Diet will supersede it. Inmate will be removed from the diet roster for non-compliance when five (5) meals are missed in seven(7)
calendar days, or when the inmate requests removal in writing. Inmates are to receive only the prescribed religious/medical diet and each inmate is
responsible for his/her restricted diet and compliance to their jet. /

MEDICAL - | understand ey and conditions of this diet. oo
Inmate's Sianeire TO ~~ pate o\ A | Comments CPL Ofer tise Le f Len
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DIET IS BEING DISCONTINUED DUE TO: Date s
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DISTRIBUTION Initial - Originator - Top portion of form only, Food Service Liaison - Remaining form - Diet Card Only
ARIZONA DEPARTMENT OF CORRECTIONS
Restricted Diet Card Food 7
Inmate Name ADC Number Expire Date . Lo Vodinenen
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(Allows milk and milk products)
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